






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN








NO. 03-03-00766-CV






Shavon Middleton, Appellant



v.



Texas Department of Protective and Regulatory Services, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. FM-301910, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Shavon Middleton appeals the termination of her parental rights to her three children,
R.C.W., R.W., and Q.H.  She raises three points of error, arguing that (1) she was deprived of the
effective assistance of counsel during the termination proceedings, (2) the evidence was factually
insufficient to support termination of her parental rights, and (3) institutional racism in the child
welfare system of Texas violated her civil rights.  We will affirm the judgment of the district court. 


BACKGROUND

	Middleton is the natural mother of twin boys, R.C.W. and R.W., and their younger
sister, Q.H.  In January 2003, the Texas Department of Protective and Regulatory Services (the
Department) received a referral alleging physical abuse of all three children.  The Department
investigated and generated a child safety plan, under which Middleton agreed to no longer use
physical discipline and to participate in services to help with her parenting and anger issues.  In
March 2003, the Department received another referral alleging constant abuse of all three children. 
It again investigated, removed all three children from Middleton's care, and filed its original petition
to terminate her parental rights.  

	On December 10, 2003, the court terminated Middleton's parental rights.  The court
found by clear and convincing evidence that the Department made all reasonable efforts consistent
with time and circumstances to reunite the children with the family, that Middleton knowingly
placed or allowed the children to remain in conditions or surroundings that endangered their physical
or emotional well-being, and that she engaged in conduct or knowingly placed the children with
persons who engaged in conduct that endangered their physical or emotional well-being.  See&nbsp;Tex.
Fam. Code Ann. § 161.001(1)(D), (E) (West 2002).  The court further found by clear and convincing
evidence that it is in the best interests of the children to terminate the parent-child relationship.  See
id. § 161.001(2). 


DISCUSSION

	Middleton raises three points on appeal, arguing that she was deprived of effective
assistance of counsel, that the evidence is factually insufficient to support the termination of her
parental rights, and that institutional racism within Texas's child welfare system violated her civil
rights.  We will address each point in turn.  


Ineffective Assistance of Counsel

	Middleton first argues that she was deprived of effective assistance of counsel. 
Middleton alternatively asserts, first, that her trial counsel's representation was presumptively
ineffective because counsel was effectively inert and, second, that she was prejudiced by counsel's
deficient performance in failing to use dilatory tactics, address relative placements or obtain a jury
trial, by counsel's "other omissions," and by the totality of the circumstances. (1) 

	In Texas, indigent parents in termination proceedings have a statutory right to
counsel.  Tex. Fam. Code Ann. § 107.013 (a)(1) (West Supp. 2004-05); In re M.S., 115 S.W.3d 534,
544 (Tex. 2003).  Because it would be a useless gesture to recognize the importance of counsel in
termination proceedings by statute but not to require that counsel perform effectively, this statutory
right embodies the right to effective assistance of counsel.  M.S., 115 S.W.3d at 544.  To determine
whether parents in termination proceedings received effective assistance of counsel, Texas courts
apply the two-pronged standard set by the United States Supreme Court in Strickland v. Washington,
466 U.S. 668 (1984).  M.S., 115 S.W.3d at 544-45.  To satisfy the Strickland standard, Middleton
must show both (1) that her attorney's performance was so deficient and contained such serious
errors that the attorney was not functioning as counsel, and (2) that the deficient performance
prejudiced her defense to such a degree that she was deprived of a fair trial.  Strickland, 466 U.S. at
687.  Any allegation of ineffectiveness must be firmly founded in the record.  Thompson v. State, 9
S.W.3d 808, 814 (Tex. Crim. App. 1999); Blevins v. State, 18 S.W.3d 266, 271 (Tex. App.--Austin
2000, no pet.).  


Constructive Denial of Counsel

	Middleton asserts that she was constructively denied counsel because her counsel was
inert.  An appellant alleging ineffective assistance of counsel need not prove prejudice in cases in
which counsel entirely fails to subject the opposition's case to meaningful adversarial testing. 
United States v. Cronic, 466 U.S. 648, 658-59 (1984); Childress v. Johnson, 103 F.3d 1221, 1228
(5th Cir. 1997).  If an appellant can establish that counsel was "not merely incompetent, but inert,
prejudice will be presumed."  Childress, 103 F.3d at 1228.  However, "'bad lawyering, regardless
of how bad, does not support the . . . presumption of prejudice' under Cronic."  Id. at 1229 (citing
McInerney v. Puckett, 919 F.2d 350, 353 (5th Cir. 1990)) (emphasis in original).  Thus, if Middleton
can show that counsel was inert, she need not also show that she was prejudiced by counsel's errors. 
	The record shows that Middleton's counsel was not inert; rather, she subjected the
Department's case to meaningful adversarial testing.  In counsel's short opening statement, she
alerted the court to the Department's heavy burden and predicted that the evidence would show that
Middleton had learned from her mistakes and that termination was not in the children's best
interests.  Counsel cross-examined witnesses for the Department and for the children, emphasizing
the limitations of the witnesses' knowledge or contact with the family and eliciting other testimony
beneficial to Middleton's case, (2) and objected to the admission of adverse evidence.  In presenting
Middleton's case, counsel called Middleton and her sister, Tamecia Middleton. (3)  Both testified about
the children's needs and Middleton's abilities to properly care for them.  In her closing statement,
counsel directed the court's attention to positive precedent from this Court, emphasized the progress
Middleton had made participating in services and her intentions regarding the children in the future,
evaluated and reviewed adverse evidence and testimony, and reminded the court of the constitutional
rights of parents.  Counsel's performance was far from the "inert" behavior of the attorney in
Childress, whose sole function was to stand beside the defendant and execute a waiver of his right
to a jury trial, and who the Fifth Circuit's opinion twice compared to a potted plant.  See Childress,
103 F.3d at 1223, 1226, 1231.  Because Middleton has not shown she was constructively denied
counsel, we may not presume prejudice.  


Ineffective Assistance:  Dilatory Tactics

	Middleton next argues that she was prejudiced by her counsel's error in failing to use
dilatory tactics to give her more time to improve her parenting abilities.  We first note that the
legislature has mandated a definite period within which termination proceedings must be resolved. 
Trial courts must either terminate parental rights within one year of the date the Department is
appointed temporary managing conservator of a child or dismiss the case.  Tex. Fam. Code Ann.
§&nbsp;263.401(a) (West 2002).  The court may retain the suit and extend the deadline up to six months
if doing so is in the child's best interest.  Id. § 263.401(b).  Middleton's children were removed eight
months before this disposition.  The question before us therefore becomes whether effective counsel
must in all cases employ dilatory tactics to use each day of the maximum time period allowed by
law, that is, whether Middleton's counsel should have delayed the case for four more months or ten
more months in the event the court had retained the suit and extended the deadline in the children's
best interests.  See id., §§ 263.401(a), (b).  

	To satisfy the first prong of Strickland, Middleton must prove by a preponderance of
the evidence that her counsel's performance fell below an objective standard of reasonableness as
defined by prevailing professional norms.  Strickland, 466 U.S. at 687-88.  In determining whether
counsel's performance was deficient, we apply a strong presumption that her conduct was within the
range of reasonable professional assistance.  Thompson, 9 S.W.3d at 814; Blevins, 18 S.W.3d at 271. 
As stated in Strickland, "A fair assessment of attorney performance requires that every effort be
made to eliminate the distorting effects of hindsight, to reconstruct the circumstances of counsel's
challenged conduct, and to evaluate the conduct from counsel's perspective at the time . . . ."  466
U.S. at 689.  The appellant bears the heavy burden of overcoming this presumption.  Thompson, 9
S.W.3d at 814; Blevins, 18 S.W.3d at 271.  "This burden requires the [appellant] to bring forward
a record from which we may discern that trial counsel's performance was not based on sound
strategy."  Mayhue v. State, 969 S.W.2d 503, 511 (Tex. App.--Austin 1998, no pet.).  If the record
is silent as to why counsel made a particular decision, it is "insufficient to overcome the presumption
that counsel's actions were part of a strategic plan."  Tong v. State, 25 S.W.3d 707, 714 (Tex. Crim.
App. 2000) (citing Thompson, 9 S.W.3d at 814).

	Texas has not enacted specific guidelines for attorneys in termination cases, but
Middleton refers us to a handbook on representing parents in termination cases, (4) standards used in
other states, (5) and guidelines for attorneys ad litem representing children in termination cases. (6)  She
argues that counsel should have delayed the case as long as possible.  Middleton asks us to rule that
any attorney representing a parent in a case in which the Department is aggressively pursuing
termination must use the full statutory period to the client's advantage. However, none of the sources
Middleton cites states that dilatory tactics are an integral part of objectively reasonable representation
in termination cases. (7)  See Strickland, 466 U.S. at 687-88.  

	Middleton next turns to guidelines recommending that attorneys ad litem for children
in termination cases expedite the cases.  See Tex. Fam. Code Ann. § 107.003(1)(E) (West Supp.
2004-05); Am. Bar Ass'n, Standards of Practice for Lawyers Who Represent Children in Abuse and
Neglect Cases B-1(4) (2003).  She argues that, where the parent and child are legally opposed to one
another, the parent's attorney should do the converse of what the child's attorney should do:  delay
proceedings as much as possible.  Middleton reasons that this would improve the parent's chances
to show progress in areas of concern because, given more time to make use of services, a parent
would perform better.  The appeal of congruence notwithstanding, it is not necessarily sound trial
strategy for the parent's attorney to oppose the child's attorney at every turn.  Parents' attorneys need
not use the full statutory period in order to effectively represent their clients; there is no such duty
under the law.  In some cases, doing so would actually disadvantage the client.  The attorney must
weigh the risk that a continued deficiency in performance despite having additional time would
prejudice the client's case.  For example, here, although the record shows that Middleton had made
some improvement in safe parenting, there was also evidence that her progress was minimal. 
Middleton has not demonstrated that, given more time, her performance would have improved, and
it is possible that it could have worsened.  She therefore fails to overcome the strong presumption
that counsel's conduct was within the range of reasonable professional assistance.  See Thompson,
9 S.W.3d at 814; Blevins, 18 S.W.3d at 271.


Ineffective Assistance: Relative Placements

	Middleton argues that her counsel's conduct fell below an objective standard of
reasonableness because counsel did not adequately address relative placements for the children.  It
is true that the record does not show that Middleton's attorney forwarded information to the
Department regarding possible relative placements, conducted her own investigation, or requested
additional home studies as recommended in the referenced handbook.  Bree Buchanan, Representing
Parents in Termination of Parental Rights Cases 8 (1998).  The record does show, however, that the
Department had already conducted two relative home studies, that it articulated plausible concerns
about the children's safety in each home, and that Middleton refused to cooperate in suggesting more
names of relatives for review.  We do not agree that counsel's failure to request additional relative
home studies which, on the limited record here, she might have deemed futile or even against her
client's wishes, could not have constituted sound strategy.  See Mayhue, 969 S.W.2d at 511.  It is
Middleton's burden to show that counsel should have produced more studies or that her failure to
do so was erroneous.  See id.  Our standards of reasonableness do not require an appointed attorney
to oppose her client and attempt useless acts.  Again, Middleton has failed to overcome the strong
presumption that counsel's conduct was within the range of reasonable professional assistance.  See
Thompson, 9 S.W.3d at 814; Blevins, 18 S.W.3d at 271.  


Ineffective Assistance: Jury Trial

	Reasonably competent counsel, Middleton claims, would have requested a jury trial
to give Middleton peer support, as a significant percentage of potential Travis County jurors are
African-American or Hispanic, and because the jury's presence would have made counsel more
vigilant in objecting to inadmissible evidence and requesting instructions to disregard.  She alleges
that she was prejudiced in that she was denied the chance to have her case decided by a more
sympathetic fact-finder without the consideration of inadmissible harmful evidence. (8)  We have no
record on which to determine that counsel's decision to waive a jury trial was not based on sound
strategy.  See Mayhue, 969 S.W.2d at 511.  Middleton has not overcome the presumption that
counsel's performance met an objective standard of reasonableness or shown that failure to request
a jury trial constituted ineffective assistance of counsel.  See Strickland, 466 U.S. at 688.


Ineffective Assistance: "Other Omissions" and Totality of the Circumstances

	Middleton argues that, because counsel did not introduce the children's medical
records into evidence, the court was unaware that she provided them adequate medical attention and
that she had no opportunity to treat their mental disorders or developmental delay.  Again, we have
no record to show that this was not a conscious decision based on sound strategy, in part because we
do not know that the information contained in the medical records would have aided Middleton's
case.  See Mayhue, 969 S.W.2d at 511.  

	Reasonably competent counsel, according to Middleton, would have more effectively
cross-examined witnesses and shown Middleton's parenting in a better light.  Specifically,
Middleton argues that counsel would have made the court aware of Middleton's own medical
condition, her providing medical care for the children, ensuring their attendance at school, and
expressing concern with their behavior at school.  Each of these facts, however, can be gleaned from
the testimony and exhibits admitted at trial.  The trial court was aware of them.  Although we cannot
say that no attorney could have outdone Middleton's counsel in re-emphasizing these specifics or
in painting a more attractive picture of her client, neither can we say that counsel's failure to
convince the court on these matters was deficient.  Failure to conduct "more effective" cross-examination to reinforce facts already before the court is not such a serious error that the attorney
was not functioning as counsel.  See Strickland, 466 U.S. at 687.

	The "totality of the circumstances" argument posits that the cumulative actions and
omissions of counsel constitute prejudicial ineffectiveness even if no single act or omission would
suffice.  Although "we must take into account all of the circumstances surrounding the case" and
"primarily focus on whether counsel performed in a 'reasonably effective' manner," in doing so we
give great deference to counsel's performance, indulging the strong presumption that counsel's
performance falls within the wide range of reasonable professional assistance.  In re M.S., 115
S.W.3d at 545.  Here there is no indication in the record that Middleton's counsel was not reasonably
effective or that her cumulative actions and omissions prejudiced Middleton.  We therefore hold that
Middleton has not shown that she was prejudiced by counsel's "other omissions" or the totality of
the circumstances.  

	Middleton's counsel was not inert, and Middleton has not carried her burden of
showing that counsel was deficient in failing to use dilatory tactics, address relative placements or
obtain a jury trial, in counsel's "other omissions," or in the totality of the circumstances.  She has
also not shown that she was prejudiced by any such deficiency.  We overrule Middleton's first point
of error.


Factual Sufficiency

	Middleton contends that the evidence was factually insufficient to support the trial
court's finding that termination was in the children's best interest or to overcome the presumption
that the children should be placed with relatives.  Middleton admits in her brief that she has not
preserved the question of factual sufficiency by timely filing a motion for new trial, which is a
prerequisite to presenting such a complaint on appeal.  See Tex. R. Civ. P. 324(b)(2); Tex. R. App.
P. 33.1(a).  However, in cases in which the appellant also claims she was denied ineffective
assistance of counsel, we may consider factual insufficiency in conjunction with the ineffective
assistance claim although the argument is not properly preserved.  See M.S., 115 S.W.3d at 549-50. 
We consider this issue in conjunction with the ineffective assistance of counsel claim.  Id. at 538. 

	Parental rights are of constitutional magnitude, but they are not absolute.  In re C.H.,
89 S.W.3d 17, 26 (Tex. 2002).  It is imperative for courts to recognize the constitutional
underpinnings of the parent-child relationship, but it is also essential that the emotional and physical
interests of a child not be sacrificed to preserve that right.  Id.  To terminate a parent's rights to her
children, the Department must prove and the trial court must find by clear and convincing evidence
both of the following statutory requirements: (1) that the parent has engaged in conduct set out as
statutory grounds for termination and (2) that termination is in the children's best interests.  Tex.
Fam. Code Ann. § 161.001 (West 2002).  Clear and convincing evidence is that measure or degree
of proof that produces in the mind of the trier of fact a firm belief or conviction of the truth of the
allegations sought to be established.  C.H., 89 S.W.3d at 23 (citing State v. Addington, 588 S.W.2d
569, 570 (Tex. 1979)).  This heightened standard of proof is appropriate because termination is a
drastic remedy of such weight and gravity that due process requires the State to justify termination
of the parent-child relationship by more substantial proof than a preponderance of the evidence.  Id.
(citing In re G.M., 596 S.W.2d 846, 847 (Tex. 1980)); see also Santosky v. Kramer, 455 U.S. 745,
747-48 (1982) (requiring that in termination cases "the State support its allegations by at least clear
and convincing evidence").  

	In determining whether evidence is factually sufficient to support a best interest
finding, we give due consideration to evidence that the fact-finder could have found to be clear and
convincing and consider whether disputed evidence is such that a reasonable fact-finder could not
have resolved the dispute in favor of its finding.  In re J.F.C., 96 S.W.3d 256, 266 (Tex. 2002). 
Factors courts consider in determining the best interests of a child include the child's desires, the
present and future emotional and physical needs of and danger to the child, the parenting abilities
of the parent, the programs available to assist her, the plans for the child by the parent or agency
seeking custody, the stability of the home or placement, any acts or omissions of the parent that may
indicate that the parent-child relationship is improper, and any excuse for the acts or omissions of
the parent.  Holley v. Adams, 544 S.W.2d 367, 371-72 (Tex. 1976).  This list is not exhaustive, and
a fact-finder is not required to consider all the listed factors in making the best interest determination. 
Id. at 372.  The test focuses on the best interest of the child, not the needs or desires of the parent. 
See In re J.O.C., 47 S.W.3d 108, 115 (Tex. App.--Waco 2001, no pet.).  

	The court heard evidence that Middleton severely physically abused her children. 
Middleton admitted that she strikes her children, has left marks on at least one of the boys from
disciplining him with a belt, and has difficulty managing her anger and sometimes yells, threatens,
curses, and hits when angry.  Middleton testified that she still believes in physical discipline but will
never hit her children again.  Although Middleton characterized her physical discipline of the
children as appropriate (9) and measured, (10) the court heard contrary evidence from other sources.  

	The court admitted reports and an affidavit from Angela Pratt, the CPS Specialist
assigned to the case, that recited months of observed abuse.  In December 2002, the Department
documented reports from R.C.W. that Middleton hit him with her hands and a belt for getting a "sad
face" at school; Pratt observed a belt buckle imprint on his abdomen, a black eye, multiple
lacerations and bruises on both palms, red streaked areas to both inner forearms, old bruises on his
shoulder, and marks that appeared to be healing cigarette burns on his forearms.  R.W. reported he
had heard R.C.W. crying and telling Middleton to stop; at that time neither R.W. nor Q.H. bore
marks of physical injury.  The Department found "reason to believe" physical abuse had occurred
in that case. (11)  Although Middleton indicated she understood proper physical discipline of children
and agreed not to leave marks, in January 2003 the Department received reports that Middleton had
thrown R.C.W. onto a bedroom floor and had punched all three children in the face and choked
them; they all had been observed with busted lips and bruises.  The following day Pratt visited
R.C.W. and R.W. at school and observed an eye injury, bruises, and scarring on R.W. and an injured
lip and bloody nose on R.C.W.  R.W. refused to speak, (12) but R.C.W. said Middleton struck him with
a belt and buckle, slammed him into the floor, choked him, gave him a black eye, slaps all the
children in the face, and once somehow caused Q.H.'s elbows to bleed.  When Pratt took R.C.W.
home, Middleton admitted having physically disciplined him the day before for misbehaving at
school and stated that if her children continued to misbehave, she would continue to do so. (13) 
Middleton denied having any knowledge of how R.C.W.'s face was bloodied. (14)  

	In March, Pratt received another report that Middleton was constantly beating all three
children, that R.W. had required staples in the back of his head because she had slammed him into
a door, (15) that Middleton's boyfriend and sister had each had to intervene to stop her from hurting the
children, and that she had beaten R.W. with a broomstick so severely that he had lost control of his
bowels.  In her testimony before the court, Pratt reiterated her descriptions of the children's injuries
and added that R.C.W. had been observed with welts on the hips and buttocks and a mouth injury. 
Pratt testified that the twins were afraid to attend Middleton's first visit with them after their removal
and expressed concerns that she would retaliate if they told Department workers about the abuse.  

	Roslyn Brady, Middleton's neighbor, testified that she saw Middleton hit the children
on multiple occasions after the Department's involvement had begun.  She testified that when
Middleton beat R.C.W. so badly that he "messed on his self," Middleton then picked him up by the
throat, threw him to the ground, and made his twin clean him.  Brady testified that Middleton's
boyfriend, sister Laticia, and daughter Q.H., observed incidents of abuse of the twins. (16)  Although
Middleton had ceased abusing the children for extended periods of time, Brady testified that
Middleton always began again and that Brady feared they were in danger of serious injury. 

	Tamecia Middleton, Middleton's sister, testified that, in the past, she had been
concerned about Middleton's abuse of the children and that she was called to Middleton's home to
stop her from hitting them with a broom.  Although Tamecia Middleton never personally witnessed
the abuse, she said she was aware Middleton was using physical discipline on the children regularly. 	Since the children's removal, additional evidence of abuse has surfaced.  The
children's court-appointed special advocate (CASA), Rene Franklin, testified that all three children
claimed Middleton struck them on multiple occasions and that she used a belt and a broom.  A
CASA supervisor, Kyla McCulley, testified that, while supervising visitation, she saw Q.H. hit dolls
together because "they were fighting" and tell Middleton, "Mama, this is you.  You beat us."  Q.H.
continued to insist that the dolls were fighting, although her grandmother suggested that the dolls
were friends.  Denise Lozano, the children's therapeutic foster mother, testified that when the
children came to her in March, they were extremely aggressive and violent and that they required
almost constant supervision to prevent them from hurting each other.  When the children get out of
control, she physically holds them in "time out" until they can calm down.  For some time, they
exhibited strong fears when being held in time out and would kick, scream, and bite.  Lozano
believed they were expecting to be struck.  Dr. Poole's psychological reports on R.C.W. and R.W.
stated that both suffered emotional and behavioral disruption and trauma symptoms that were
consistent with their reports of severe physical abuse.  

	The evidence is such that the court could reasonably have formed a firm belief or
conviction that Middleton has exhibited a pattern of physically abusing all three children and may
be likely to continue to do so in the future, even after periods of refraining from abuse or
representations that she would not strike the children.  Furthermore, Michael Martinez, a CPS
specialist who reviews files for progress, testified that he sees a continued risk of physical abuse if
the children are returned to Middleton and that they have been endangered by exposure to physical
abuse. 

	The court also heard evidence that Middleton has not made enough progress to enable
her to parent properly.  Middleton testified that, despite her anger issues in the past, she is better able
to control herself now.  Although she believes in physical discipline, she testified that parenting
classes have taught her to use "time out" or to take toys from her children to discipline them. 
However, Middleton also admitted in her testimony that she loses her temper even when she knows
that doing so is not helpful (17) and that she has not completed her anger management classes.  Diana
Escamilla, the program director of Adelante Counseling and Middleton's anger management class
provider, testified that, although Middleton had attended four of seven scheduled group classes, after
the first two classes, "there were already concerns" about her progress. (18)  According to Adelante
Counseling Services notes, Middleton disrupted group meetings, cursed and displayed a
confrontational, negative attitude, and stated that the classes were useless and that she had a right
to hit her children.  At the time of trial, Escamilla recommended seventeen more sessions of
individual anger management therapy because she and Middleton agreed that Middleton "wasn't
getting anything out of" the classes.  Escamilla assessed Middleton's level of dangerousness as
"moderate."  

	Kelley Broadaway, Middleton's protective parenting teacher, testified that Middleton
successfully completed her parenting program, but had been hostile, angry, and disruptive in class. 
Although Middleton took responsibility for some of the children's injuries and expressed remorse,
Broadaway recommended that Middleton continue anger management.  Broadaway testified that she
worried about Middleton's temper with the children because she had lost her temper in class and
Broadaway felt that rage could erupt at any time.  Protective parenting classes do not, in
Broadaway's opinion, address or cure rage issues.  

	Jude Wick, Middleton's therapist, testified that Middleton's therapy focused on her
angry feelings and finding alternative behaviors.  Wick testified that Middleton did not make
progress in recognizing or dealing constructively with her anger.  She refused to consider medicating
herself or her children because she did not believe in it. (19)  Wick also testified that Middleton did not
express worry for her children, have plans or goals for their return, or refer to them by name, which
he believed indicated that she was not focused on their needs.  Poole testified that he believed
Middleton was intellectually able to integrate new information into her life but that her anxiety and
trust issues left her at a high risk of repeating abusive behaviors.  Poole did not recommend
medicating Middleton against her will, although he believed she was depressed.  He recommended
parenting and anger management classes but felt that individual therapy was not likely to succeed
because Middleton was oppositional, defensive, and in denial.  Poole believed that if the children
were returned to Middleton, the danger to them would likely re-emerge because of her continuing
difficulty controlling her anger.  Martinez observed Middleton lose her temper on several occasions
during the Department's involvement and testified that he recommends more anger management,
individual therapy, parenting classes, and a drug and alcohol assessment because of Middleton's
recent arrest for cocaine-related charges.  Martinez testified that in eight months, Middleton made
no improvement and recently told him she did not have a problem or need to participate in the
services offered.  He believed that the children would be in physical danger if they were returned to
Middleton because she was angry, very reactive, and unable to express her feelings without hurting
them.

	Moreover, evidence shows that the children have a particularly strong need for a calm
and stable environment. Michael Greenwood, the treating therapist for all three children, testified
that, as compared with other children, they have more intense anger and more extreme tantrums with
incessant crying.  CASA Rene Franklin concurred that the children are developmentally off-target
and have anger issues.  Greenwood described them as "in a great deal of distress" and noted that all
three, especially Q.H., require considerable attention, stability, and constant supervision in an
environment like their therapeutic foster home.  Greenwood testified that changes in their
environment, such as going to school, are unusually difficult for the siblings, and that he comes to
their foster home for therapy sessions because taking them to therapy was unduly disruptive. 
Greenwood opined that, for these three children, any physical discipline at all would be detrimental. 
Poole testified that the twins suffer from surges of anxiety and anger and from post traumatic stress
disorder. (20)  He believed that they could recover if given a calm environment in which they were
convinced that adults are safe, mean what they say, and are reliable, and that nobody will hurt or
scare them.  Poole agreed that any physical discipline of the twins would merely cause an anxiety
spike and that they would not learn anything from the discipline. (21)  Stability, Poole opined, is a
paramount consideration for R.C.W. and R.W. because they react so strongly to tumult, become
angry, and act out aggressively.  Martinez also testified that the children need nurturing, structure,
stability, and a regular routine.  He believed that Middleton is unable to provide for these needs
because she does not have a stable life and is not nurturing; the children have to seek her out for
attention.

	There is evidence that the children do not feel safe and secure with Middleton.  Pratt
testified that all the children feared Middleton, that the twins were both too afraid to go to their first
visit with her, and that R.W. was too afraid to attend supervised visitation on other occasions. 
Greenwood, Franklin, and Lozano all testified that, after Middleton told the children she was going
to court so that she could bring them home with her, R.C.W. began screaming, and the next day he
became so depressed and non-responsive at school that he was sent home.  According to Franklin,
R.C.W. has missed four and R.W. has missed about ten of Middleton's twenty-three visits, and the
children appeared to be afraid of Middleton during the visits. (22)  Franklin testified that the visits had
an adverse effect on the children's tantrums and crying.  Martinez testified that the Department did
not increase visitation after Middleton completed her parenting class and suspended visitation during
trial because she had used the visits to discuss her case with workers, her anger was escalating, and
there were concerns that she would behave inappropriately during visits. (23)  

	This abuse indicates that the existing parent-child relationship is not a proper one and
reflects poorly on Middleton's abilities to parent and meet the children's needs.  There was also
evidence that Middleton has been unable to use the available services to improve her parenting
abilities or curb her angry outbursts, which raises concerns about the present and future physical and
emotional danger to the children if returned to their mother. (24)

	Middleton also challenges the Department's failure to place the children with
relatives.  The Department performed home studies in an attempt to place the children with
Middleton's sister, Tamecia Middleton, or her aunt, Paula Middleton.  Middleton now argues that
there was not sufficient evidence to overcome the strong presumption that placement with Tamecia
Middleton or Paula Middleton was in her children's best interests.  Because the family code
mandates that children be placed with relatives, "unless placement with the noncustodial parent or
relative is not in the best interest of the child," Tex. Fam. Code Ann. § 262.201(e) (West 2002), and
because the state's interest favors preservation, not severance, of natural familial bonds, Rodarte v.
Cox, 828 S.W.2d 65, 79-80 (Tex. App.--Tyler 1991, no writ); Santosky, 455 U.S. at 766-67, we
address the Department's failure to place the children with Tamecia Middleton or Paula Middleton
in our sufficiency review of the best interest determination.  See Holley, 544 S.W.2d at 371-72
(factors in determining best interest may include stability of proposed home or placement, plans by
parent or Department, and possible dangers to child).  

	Martinez testified that the home study on Tamecia Middleton raised concerns
regarding her ability to protect the children from possible future physical abuse by Middleton. 
Tamecia Middleton testified that she and Middleton had daily contact and that the children would
be safe if returned to their mother.  Tamecia Middleton admitted having past concerns about
Middleton abusing the children but testified that she had never personally witnessed any such abuse,
although she had been called to Middleton's home to intervene.  The Department expressed concern
that Tamecia Middleton did not appear to believe the allegations against her sister, that she was so
close to her that they spoke daily, and that she would not refrain from allowing access outside of
Department recommendations, possibly re-traumatizing the children.

	Martinez also testified that the Department's home study on Paula Middleton raised
concerns that she had "too much on her plate" and because of problems with her references. 
Furthermore, Martinez testified that there were deep concerns that Paula Middleton would not be
able to protect the children from their mother or follow the Department's guidelines regarding
contact with Middleton.  Pratt's report stated that, shortly after the twins' birth and before Q.H. was
born, Middleton voluntarily placed them with Paula Middleton when the Department found
neglectful supervision by Middleton.  Middleton testified that she and the twins lived with Paula
Middleton for four months before Middleton moved out, leaving the twins there, because she didn't
like Paula Middleton's rules.  A month later, Middleton testified, Paula Middleton got a job and
dropped the twins off at Middleton's home.  Martinez testified that the Department was concerned
that Paula Middleton might turn the three children over to Middleton as she had before, despite the
risk of physical abuse.  

	When she was informed that Paula Middleton had not been approved after the second
home study, Martinez testified, Middleton flew into a rage and refused to give any other relatives'
names for consideration as possible placements for the children.  Thus, the Department's plan for
the children became adoption as a sibling group.  Martinez considered the sibling group adoptable.

	The evidence was such that a reasonable fact-finder could have formed a firm belief
or conviction that termination was in the children's best interest because of the severe physical abuse
and the probability that the physical and emotional danger to the children would recur if Middleton's
rights were not terminated.  It was therefore factually sufficient to support the finding.  C.H., 89
S.W.3d at 18-19.  Because the evidence was factually sufficient to support the best interest finding,
we hold that, even assuming it was error for counsel to fail to move for a new trial, Middleton cannot
prove that she would have had a different outcome absent the alleged error.  Middleton has not
shown she received ineffective assistance of counsel.  Strickland, 466 U.S. at 694.


Racial Bias

	Middleton argues that, because African-American children are over represented in
the child protective system, because caseworkers are more likely to recommend removal of African-American than other children, and because the Adoption and Safe Families Act gives Texas a
"bounty" of $4000 per African-American child removed and adopted, (25) the termination of her
parental rights violates the equal protection clause of the Fourteenth Amendment to the United States
Constitution. (26)  Middleton requests that we hold that the child protection system of Texas is facially
defective or that it is invidious as applied to her, but, except for presenting statistics on the
prevalence of African-American children in various states' child protection systems, she does not
specify any facial defect or the alleged invidious application to her.  The record shows that she did
not present this argument to the trial court. (27)  Middleton cannot raise for the first time on appeal a
complaint that is not preserved.  Tex. R. App. P. 33.1.  "Without proper preservation, even
constitutional error may be waived."  Harris v. State, 125 S.W.3d 45, 48 (Tex. App.--Austin 2003,
pet. denied) (citing Wright v. State, 28 S.W.3d 526, 536 (Tex. Crim. App. 2000)).  Accordingly, we
overrule Middleton's third issue.  


CONCLUSION

	Middleton has not shown that she received ineffective assistance of counsel, and the
evidence was factually sufficient to support the finding that termination of her parental rights was
in her children's best interests.  Her discrimination claim was waived.  We overrule all three points
and affirm the judgment of the trial court.  



					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Affirmed

Filed:   May 12, 2005
1.   Specifically, in arguing that counsel was inert and that she was prejudiced by the totality
of the circumstances, Middleton cites the following failings of her attorney:  failure to assert
affirmative defenses in the original answer to the Department's Suit Affecting the Parent-Child
Relationship (SAPCR); failure to move for a new trial and preserve a factual sufficiency challenge;
failure to assert institutional racism, Thirteenth Amendment, or Fourteenth Amendment-based
counterclaims; failure to except to the generality of the original SAPCR pleading; failure to file a
motion to strike an affidavit containing hearsay and misleading information or request mediation;
failure to request additional discovery of medical or school records, to procure independent
psychological or drug evaluations of her client, to request African-American service providers, to
request additional or independent home studies of relatives, or to object to the rejection of Tamecia
Middleton and Paula Middleton as placements; failure to "shift litigation strategies" upon the
Department's permanency plan's change from family reunification to adoption; failure to file
motions for summary judgment; failure to procure experts regarding Middleton's sickle-cell anemia
or the alleged institutionalized racial and cultural bias of the Department; failure to quash
Department subpoenas; failure to request a jury trial to balance the fact that the Department's
witnesses would likely be predominately Caucasian against the likelihood of a partly African-American or Hispanic jury pool; failure to present "any real amount of evidence" as measured by
comparing numbers of pages of testimony for each side; failure to call the authors of a home study
admitted into evidence or elicit testimony regarding Tamecia Middleton's ability or willingness to
care for the children if Middleton's rights were terminated; failure to effectively examine Middleton
to humanize her; failure to cross-examine and impeach an adverse witness; and agreeing to set trial
for November 2003 when the court offered dates in February 2004.  
2.   For instance, counsel elicited testimony regarding Middleton's improvement in various
areas and participation in services; explanations of Middleton's behavior, plans to care for the
children, and family support; the children's requests to go home with Middleton and their bond with
her and each other; and visitation recommendations the Department did not follow.
3.   Although counsel failed to elicit testimony on cross-examination of Middleton's neighbor,
Roslyn Brady, that Brady had left her own infant child in Middleton's care after making allegations
of abuse against her, both Middleton and her sister, Tamecia Middleton, testified to this fact during
the presentation of Middleton's case.  
4.   Bree Buchanan, Representing Parents in Termination of Parental Rights Cases (1998). 
We note that the practical advice in such handbooks is not authoritative or binding upon this Court. 
Furthermore, much of the advice is clearly precatory; for example, the handbook advises the lawyer
to ease the client's pain by encouraging the client to write to current caregivers to communicate what
the children were like as babies, their favorite foods, songs, etc.  Id. at 9.  We will consider such
advice only as it is persuasive on the issue of proper representation.  
5.   Philadelphia County, Pa., 32 Pa.B. 4033, Rules 1702-05 (2002) (to ensure competent and
effective counsel in Dependent Court for Philadelphia parents and children); Maine Court
Improvement Project, Representing Parents in Child Protection Cases:  A Basic Handbook for
Lawyers (1999). 
6.   Am. Bar Ass'n, Standards of Practice for Lawyers Who Represent Children in Abuse and
Neglect Cases B-1(4) (2003); Nat'l Ass'n of Counsel for Children, NACC Recommendations for
Representation of Children in Abuse and Neglect Cases (2001).  
7.   The Buchanan handbook's suggestion that, if a case goes to mediation, counsel should
consider negotiating for more time to complete services is a far cry from stating that any competent
attorney must extend proceedings for a year or more.  Buchanan, supra note 6, at 8.  Similarly, the
Philadelphia Rules do not advocate use of dilatory tactics by parents' attorneys.  See generally
Philadelphia County, Pa., 32 Pa.B. 4033, Rules 1702-05 (2002).  The Maine handbook actually
suggests that parents' attorneys avoid duplication and use documents instead of testimony to reduce
trial time and "manage the case for efficiency."  Maine Court Improvement Project, Representing
Parents in Child Protection Cases:  A Basic Handbook for Lawyers § IV (1999).
8.   Middleton would have us assume that counsel would have behaved differently before a
jury, that African-American or Hispanic jurors would have been empaneled, that they would have
been more sympathetic to Middleton concerning the severe abuse of her three African-American
children, and that their sympathy would have been enough to change the outcome of the trial.  See
Strickland, 466 U.S. at 694 (requiring appellant to show "a reasonable probability that, but for
counsel's unprofessional errors, the result of the proceeding would have been different").  
9.   Child Protective Services (CPS) Caseworker Angela Pratt testified that the Department
considers "reasonable physical discipline" to include striking the buttocks with a hand or another
appropriate object, not including implements such as extension cords or wire hangers, and not
leaving any marks or bruises on the child.  
10.   Dr. David Poole, a psychologist who evaluated Middleton and the twins, testified that she
admitted having bruised R.C.W. but that she generally characterized her physical discipline of the
children as measured.  However, he believed that the twins' preoccupation with violence, anger, loss
of control, conflict and fighting and their surges of anxiety and aggression were consistent with
repeated exposure to volatility and overreactions far in excess of anything necessary for discipline
or control.  
11.   The Department must make investigations of allegations of abuse or neglect, which
culminate in written reports used to help determine the Department's next step.  Tex. Fam. Code
Ann. § 261.301-12 (West 2002).  If it determines that abuse or neglect has occurred, the case
disposition is "reason to believe," and the Department must assess the likelihood of future abuse or
neglect and provide child protective services if necessary.  40 Tex. Admin. Code §§ 700.511, .514
(2004).  
12.   Eventually, during his interview, R.W. said that his eye was red and swollen because he
had poked it.  
13.   Middleton agreed to a safety plan that prohibited physical discipline but stated that she
didn't think it was going to work and that if she couldn't strike her children, she would refuse to
discipline them at all.  
14.   Pratt also interviewed school officials.  The assistant principal described R.C.W.'s
uncontrollable outbursts and fear of going home when in trouble at school and confirmed that she
had seen him with a black eye and busted lip.  His kindergarten teacher confirmed that he was afraid
to go home and that he had a busted lip but did not know how it had happened.  
15.   When another CPS caseworker had made a home visit, R.W. had claimed that his head
injury came from his three-year-old sister pushing him down stairs, that Middleton hits him on the
backside with a belt and in the face, nose, and mouth with her hand, and that he was afraid of her.
16.   Physical abuse of other children committed in a child's presence may endanger the
observing child's physical and emotional well-being and constitute endangerment.  See Stuart v.
Tarrant County Child Welfare Unit, 677 S.W.2d 273, 278-79 (Tex. App.--Fort Worth 1984, writ
ref'd n.r.e.) (holding evidence that younger sister died from chronic abuse and neglect was sufficient
to uphold termination of parents' rights to brother without evidence of physical abuse of brother)
overruled on other grounds by In re W.S., 899 S.W.2d 772, 776 (Tex. App.--Fort Worth 1995, no
writ).  It is reasonable for a trial court to conclude that leaving a child with parents who have shown
they are capable of abusing and neglecting children would endanger that child's emotional and
physical well-being.  Id. at 280.  
17.   For example, when her children were removed, Middleton cursed Department workers and
called them names.  She testified that she made repetitive harassing phone calls and threatened to
put her caseworker in a wood chipper.  Middleton said she knew her behavior would hurt her case,
but she was out of control.  She explained that she was hostile toward caseworkers because she did
not like their attitudes and because the Department did not allow Middleton to bring family members
to visits or increase their frequency and that she made the twelve or more harassing phone calls and
the threat because the Department did not place her children with her sister.  
18.   Middleton testified that she was expelled from one anger management class for being late
and for excessive absences due to her incarceration for cocaine-related charges.  CPS Specialist
Michael Martinez testified that, after failing to attend Department-sponsored anger management
classes, Middleton located and enrolled herself in anger management classes with the Adelante
counseling service discussed in this opinion.  
19.   The children's foster mother testified that the boys are now medicated for anxiety disorder. 

20.   Poole testified that post traumatic stress disorder can cause children to become incapable
of handling any sort of stress and often to go to unhealthy lengths to avoid it.
21.   Poole also testified that, while playing basketball, R.W. experienced anxiety from physical
impact that resulted in a dissociative episode; after a basketball fell on the top of his head, he became
quiet, still, and nonresponsive for a few moments as if dazed.  Poole testified that R.W. had "checked
out emotionally" as a survival mechanism.  
22.   For instance, on one visit, when R.C.W. went out of turn in a game and Middleton tapped
him on the head, Franklin testified that he became quite fearful and markedly subdued.  
23.   Franklin testified that during the early visits, Middleton took cell phone calls and did not
show affection, and Martinez testified that, when Middleton was prevented from bringing her
boyfriend to a visit with the children, she stayed in his office, screaming, and arguing, rather than
joining the children, even after she was warned that her hour with them was expiring.  He testified
that she attended the second half of the visit, where she exhibited anger and belittled the children's
clothing and hair, which Middleton characterizes as reminding her children of their heritage and
admonishing them to take proper care of their hair because none of the people around them had hair
like theirs. 
24.   In arguing that her counsel was ineffective, Middleton argues that effective counsel would
have drawn compellingly persuasive parallels between her case and a Fort Worth Court of Appeals
case that hinged on the best interest question.  See In re W.C., 98 S.W.3d 753 (Tex. App.--Fort
Worth 2003, no pet.).  It is true that in both cases, the ground for termination was endangerment; in
W.C. the primary danger to the children came from the mother's relationships with abusers and
trouble supervising the children alone.  Id. at 758, 761.  She herself did not hurt the children and may
not have known about the abuse.  Id. at 760-62.  The court said, "this case is one in which appellant's
offending behavior is not egregious enough, on its own, to warrant a finding that termination is in
the children's best interest."  Id. at 766.  In contrast, the danger to R.W., R.C.W., and Q.H. comes
from Middleton's own abusive behavior.  Further, in W.C., the mother expressed extreme remorse,
accepted responsibility for the abuse, and made marked improvements in her ability to control and
express anger.  Id. at 763.  However, Middleton's parenting instructor testified that Middleton
expressed some remorse and accepted partial responsibility but had not dealt with her rage, and her
therapist was concerned she made no progress in dealing with her anger.  The mother in W.C. did
everything the Department required of her except pay child support; the court opined that there was
nothing more she could have done to have her children returned to her.  Id. at 765-66.  Middleton
did not even comply with the Department's requirement that she stop striking the children through
the pendency of the investigation.  These cases have very different facts and we cannot determine
from the record how counsel could have avoided the alleged error of failing to make them appear
similar.  
25.   Contrary to Middleton's assertion, eligible states receive payments of "$4,000, multiplied
by the amount (if any) by which the number of foster child adoptions in the State during the fiscal
year exceeds the base number of foster child adoptions for the State for the fiscal year" for non-special-needs adoptions.  42 U.S.C.A. 673b(d)(1) (West Supp. 2004).  This payment is not specific
to any race or ethnicity.
26.   Middleton also states that the Department's acts are reminiscent of badges and incidents
of slavery prohibited by the Thirteenth Amendment and that its encroachments upon her family
constitute an unwarranted exercise of delegated authority prohibited by Article I, Sections 13 and
19 of the Texas Constitution but does not explain how the Department has violated these provisions. 
U.S. Const. amend. XIII; Tex. Const. art. I §§ 13, 19.  If these are appeals of the termination of her
rights, they are inadequately briefed and therefore waived.  See Tex. R. App. P. 38.1(h). 
27.   In arguing ineffective assistance of counsel, Middleton contends that counsel's failure to
raise racial discrimination illustrated a complete failure to exercise judgment on her behalf. 
However, she does not show that counsel was effectively inert, that counsel's failure to preserve this
issue was deficient performance, or that counsel's failure prejudiced her cause.


